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              IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                       NO. 4:08CR00061-002 SWW

JOHN WESLEY SHAVER




                           ORDER OF DISMISSAL


      Pending before the Court is government's motion for dismissal of the

indictment against defendant, John Wesley Shaver, pursuant to Rule 48(a)

of the Federal Rules of Criminal Procedure.

      IT IS ORDERED that the government’s motion [doc #125] for dismissal

of the indictment against the above-named defendant be granted, and the

indictment pending against defendant John Wesley Shaver in the above-

styled case is dismissed without prejudice.

      DATED this 16th day of June 2009.



                                          /s/Susan Webber Wright

                                          UNITED STATES DISTRICT JUDGE
